Case: 2:24-cv-01519-EAS-CMV Doc #: 13 Filed: 04/30/24 Page: 1 of 6 PAGEID #: 1094




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 CHRISTINA L. CUPP, AS ADM. OF THE
 ESTATE OF LITTLE JOHN CUPP

                         PLAINTIFF,                      CASE NO. 2:24-CV-01519

 vs.                                                     JUDGE EDMUND A. SARGUS

 UNITED HEALTHCARE SERVICES,                            MAGISTRATE JUDGE CHELSEY M.
 INC., ET AL.                                           VASCURA

                         DEFENDANTS.

   ANSWER TO PLAINTIFF’S COMPLAINT OF DEFENDANTS ADENA HEALTH
    SYSTEM, ADENA MEDICAL GROUP, LLC, AND HAFEEZ UL HASSAN, M.D.
                     (Jury Demand Endorsed Heron)

       Now come Defendants, Adena Health System (“Adena”), Adena Medical Group, LLC

(“AMG”) and Hafeez Ul Hassan, M.D. (“Dr. Hassan”) (collectively “Defendants”), by and through

undersigned counsel, and for their Answer to Plaintiff’s Complaint state as follows:

                                       FIRST DEFENSE

       1.      Defendants deny for lack of present knowledge or information the allegations

contained in paragraphs 1-4, 10, 12-24, and 26-49 of Plaintiff’s Complaint.

       2.      Defendants admit the allegations contained in paragraphs 5, 6, 7, 9, and 11 of

Plaintiff’s Complaint.

       3.      Defendants admit that Dr. Hassan was an employee of AMG as alleged in

paragraph 8 of Plaintiff’s Complaint and deny the remaining allegations in said paragraph for lack

of present knowledge or information.
Case: 2:24-cv-01519-EAS-CMV Doc #: 13 Filed: 04/30/24 Page: 2 of 6 PAGEID #: 1095




       4.      Defendants admit that a document entitled “Affidavit of Merit” is attached to

Plaintiff’s Complaint as alleged in paragraph 25 and deny the remaining allegations in said

paragraph for lack of present knowledge or information.

       5.      Defendants deny the allegations contained in paragraphs 50-57 of Plaintiff’s

Complaint.

       6.      Defendants specifically deny and all allegations of negligence and failures on its

part in the care and treatment of Plaintiff.

       7.      Defendants deny each and every allegation contained in Plaintiff’s Complaint not

specifically admitted herein.

                                       SECOND DEFENSE:

       8.      Defendants state that Plaintiff’s Complaint fails to state a claim upon which relief

can be granted.

                                        THIRD DEFENSE:

       9.      Defendants state that there is, or may be, a defect in parties Plaintiff.


                                       FOURTH DEFENSE:

       10.     Plaintiff’s injuries and damages may have been caused and/or contributed to by a

known risk of the procedure and/or an assumption of the risk.

                                         FIFTH DEFENSE:

       11.     Plaintiff’s injuries and damages may have been caused by and/or contributed to

Plaintiff’s own comparative negligence.

                                         SIXTH DEFENSE:




                                                  2
Case: 2:24-cv-01519-EAS-CMV Doc #: 13 Filed: 04/30/24 Page: 3 of 6 PAGEID #: 1096




       12.     Defendants state that the actions or omissions of third parties, not under the

direction or control of these answering Defendants, proximately caused or contributed to cause

Plaintiff’s injuries and damages, in whole or in part.

                                      SEVENTH DEFENSE:

       13.     Defendants state that Plaintiff’s claims may be barred by the applicable statute of

limitations.

                                          EIGHTH DEFENSE:

       14.     Plaintiff has failed to join necessary parties to this litigation.


                                          NINTH DEFENSE:

       15.     Plaintiff lacks a reasonable good faith basis to bring this medical claim against these

answering Defendants, thereby entitling Defendants to an award of attorney's fees and costs against

Plaintiff, as provided by Ohio Revised Code § 2323.42.

                                          TENTH DEFENSE:

       16.     Plaintiff’s Complaint is inadequate, pursuant to Ohio Civil Rule of Procedure

10(D)(2)(a) and any corresponding Federal Rule of Civil Procedure.

                                     ELEVENTH DEFENSE:

       17.     Any potential liability of these answering Defendants is limited to a proportionate

share, pursuant to Ohio Revised Code 2307.

                                      TWELFTH DEFENSE:

       18.     Defendants are entitled to a setoff of damages or a limitation of damages pursuant

to all applicable laws and/or statutes.

                                    THIRTEENTH DEFENSE:

       19.     Defendants reserve the right to assert additional affirmative defenses as warranted

by ongoing investigation and discovery.


                                                   3
Case: 2:24-cv-01519-EAS-CMV Doc #: 13 Filed: 04/30/24 Page: 4 of 6 PAGEID #: 1097




       WHEREFORE, Defendants, Adena Health System, Adena Medical Group, LLC, and

Hafeez Ul Hassan, M.D., having fully answered Plaintiff’s Complaint, pray that the Complaint

against them be dismissed and that they recovers their costs expended herein.



                                            Respectfully submitted,


                                            /s/ Jessica L. Davis
                                            Jessica L. Davis (0075487)
                                            DINSMORE & SHOHL LLP
                                            191 W. Nationwide Blvd., Suite 200
                                            Columbus, Ohio 43215
                                            Phone: (614) 628-6880
                                            Fax: (614) 628-6890
                                            E-mail: jessica.davis@dinsmore.com

                                            Counsel for Defendants Adena Health System,
                                            Adena Medical Group, LLC, and Hafeez Ul Hassan,
                                            M.D.




                                       JURY DEMAND

       Defendant demands a trial by jury of the within action.


                                            /s/ Jessica L. Davis
                                            Jessica L. Davis (0075487)




                                               4
Case: 2:24-cv-01519-EAS-CMV Doc #: 13 Filed: 04/30/24 Page: 5 of 6 PAGEID #: 1098




                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was served upon the
following by e-mail and/or regular mail this 30th day of April, 2024:

            Craig S. Tuttle, Esq.
            John A. Markus, Esq.
            LEESBURG TUTTLE
            175 S. Third Street, Penthouse One
            Columbus, OH 43215
            ctuttle@leeseburglaw.com
            jmarkus@leeseberglaw.com
            Counsel for Plaintiff

             Katheryn M. Lloyd, Esq.
             Amber L. Merl, Esq.
             CARPENTER LIPPS LLP
             280 Plaza, Suite 1300
             280 North High Street
             Columbus, OH 43215
             lloyd@carpenterlipps.com
             merl@carpenterlipps.com
             Counsel for Defendant United Healthcare Services, Inc.


             Carly D. Glantz, Esq.
             MEYERS, ROMAN, FRIEDBERG & LEWIS
             Eton Tower
             28601 Chagrin Blvd., Suite 600
             Cleveland, OH 44122
             cglantz@meyersroman.com

             and

             Daniel K. Ryan, Esq.
             HINSHAW & CULBERTSON, LLP
             151 North Franklin Street, Suite 2500
             Chicago, IL 60606
             dryan@hinshawlaw.com

             and

             James M. Brodzik, Esq.
             HINSHAW & CULBERTSON, LLP
             71 Market Street, Suite 260
             St. Louis, MO 63101



                                             5
Case: 2:24-cv-01519-EAS-CMV Doc #: 13 Filed: 04/30/24 Page: 6 of 6 PAGEID #: 1099




            jbrodzik@hinshawlaw.com
            Attorneys for EviCore Healthcare MSI LLC

                                              /s/ Jessica L. Davis
                                              Jessica L. Davis




                                          6
